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Fill in this information to identify the case

United States Bankruptcy Court for the:

Southern                       District of    New York
                                              (State)
Case number (If known):                                            Chapter      11

                                                                                                                                                        ☐ Check if this is
                                                                                                                                                        an amended filing

   Official Form 201
   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       04/16

   If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
   number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

   1.   Debtor’s name                                   Sears Holdings Corporation



   2.   All other names debtor used                     See Schedule 1
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names



   3.   Debtor’s federal Employer
        Identification Number (EIN)                     XX-XXXXXXX


   4.   Debtor’s        Principal place of business                                                            Mailing address, if different from principal place of business
        address
                        3333                     Beverly Road
                        Number                   Street                                                        Number                      Street



                                                                                                               P.O. Box


                        Hoffman Estates                 Illinois          60179
                        City                            State             ZIP Code                             City                        State           ZIP Code

                                                                                                               Location of principal assets, if different from principal place
                                                                                                               of business
                        Cook County
                        County
                                                                                                               Number                      Street




                                                                                                               City                        State           ZIP Code


   5.   Debtor’s website (URL)                          www.searsholdings.com


   6.   Type of debtor                                  ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                        ☐ Partnership (excluding LLP)
                                                        ☐ Other. Specify:




Official Form 201                                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             Page 1

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                 Sears Holdings Corporation                                      Case number (if known)
                 Name
                                                                   Pg 2 of 19

                                              A. Check one:
 7.      Describe debtor’s business
                                              ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                              ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              ☒ None of the above Retail


                                              B. Check all that apply:
                                              ☐ Tax- entity (as described in 26 U.S.C. § 501)
                                              ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                              ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   SIC Code 5311 (NAICS Code 4521)


                                              Check one:
 8.      Under which chapter of the
         Bankruptcy Code is the               ☐ Chapter 7
         debtor filing?                       ☐ Chapter 9
                                              ☒ Chapter 11. Check all that apply:
                                                                ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                  insiders or affiliates) are less than $2,566,050 (amount subject to adjustment
                                                                  on 4/01/19 and every 3 years after that).
                                                                ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                  debtor is a small business debtor, attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return or
                                                                  if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                  1116(1)(B).
                                                                ☐ A plan is being filed with this petition.
                                                                ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                  the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                  Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                                  Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                                  with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                  1934 Rule 12b-2.
                                              ☐ Chapter 12


 9.      Were prior bankruptcy cases          ☒ No
         filed by or against the debtor
                                              ☐ Yes         District                       When                          Case number
         within the last 8 years?
         If more than 2 cases, attach a                                                                  MM/ DD/ YYYY
         separate list.
                                                            District                       When                          Case number

                                                                                                         MM / DD/ YYYY



 10. Are any bankruptcy cases                 ☐ No
     pending or being filed by a
     business partner or an                   ☒ Yes         Debtor         See Schedule 2                                Relationship   See Schedule 2
     affiliate of the debtor?                               District       See Schedule 2                                When           See Schedule 2
         List all cases. If more than 1,
                                                            Case number, if known                                                       MM / DD/ YYYY
         attach a separate list.


Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       Page 2

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Debtor
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                Sears Holdings Corporation                                    Case number (if known)
                Name
                                                                Pg 3 of 19


   11. Why is the case filed in this       Check all that apply:
       district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                           ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
                                           ☒ No
     possession of any real
     property or personal property         ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
     attention?                                      ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                           health or safety.
                                                           What is the hazard?
                                                     ☐     It needs to be physically secured or protected from the weather.
                                                     ☐     It includes perishable goods or assets that could quickly deteriorate or lose value
                                                           without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                           securities-related assets or other options).


                                                      ☐ Other


                                                     Where is the property?
                                                                                        Number                 Street


                                                                                        City                              State               ZIP Code
                                                     Is the property insured?
                                                                                         ☐ No
                                                                                        ☐ Yes. Insurance agency
                                                                                                   Contact Name
                                                                                                   Phone




                Statistical and administrative information



   13. Debtor’s estimation of          Check one:
       available funds                 ☒     Funds will be available for distribution to unsecured creditors.
                                       ☐     After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of             
                                       ☐     1-49                                      ☐       1,000-5,000                        ☐   25,001-50,000
       creditors                       ☐     50-99                                     ☐       5,001-10,000                       ☐   50,001-100,000
         (on a consolidated basis)     ☐     100-199                                   ☐       10,001-25,000                      ☒   More than 100,000
                                       ☐     200-999

   15. Estimated assets                ☐     $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
         (on a consolidated basis)     ☐     $50,001-$100,000                          ☐       $10,000,001-$50 million            ☒   $1,000,000,001-$10 billion
                                       ☐     $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                                                                       ☐       $50,000,001-$100 million
                                       ☐     $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                       ☐       $100,000,001-$500 million

   16. Estimated liabilities           ☐     $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
       (on a consolidated basis)       ☐     $50,001-$100,000                          ☐       $10,000,001-$50 million            ☐   $1,000,000,001-$10 billion
                                       ☐     $100,001-$500,000                                                                    ☒   $10,000,000,001-$50 billion
                                                                                       ☐       $50,000,001-$100 million
                                       ☐     $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                       ☐       $100,000,001-$500 million

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Debtor
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                Sears Holdings Corporation                                   Case number (if known)
                Name
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                Request for Relief, Declaration, and Signatures


 WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


     17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
         authorized representative of             petition.
         debtor
                                                 I have been authorized to file this petition on behalf of the debtor.

                                                 I have examined the information in this petition and have a reasonable belief that the information is true
                                                  and correct.
                                                  I declare under penalty of perjury that the foregoing is true and correct.

                                                      Executed on October 15, 2018
                                                                    MM / DD / YYYY



                                                      /s/ Mohsin Y. Meghji                                        Mohsin Y. Meghji
                                                      Signature of authorized representative of debtor            Printed name

                                                      Chief Restructuring Officer
                                                      Title




     18. Signature of attorney                    /s/ Jacqueline Marcus                                          Date    October 15, 2018
                                                 Signature of attorney for debtor                                       MM / DD / YYYY

                                                 Jacqueline Marcus
                                                   Printed Name
                                            
                                                 Weil, Gotshal & Manges LLP
                                                   Firm Name
                                            
                                                 767 Fifth Avenue
                                                   Number               Street
                                            
                                                 New York                                            New York                     10153
                                                   City                                                State                        ZIP Code
                                            

                                                 (212) 310-8000                                      jacqueline.marcus@weil.com
                                                   Contact phone                                       Email address
                                            

                                                 1867746                                             New York
                                                   Bar Number                                          State
                                            




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                                                  Schedule 1
                 All Other Names Used By the Debtor or its Affiliates in the Last 8 Years


A&E Factory Service                                       Kmart Pharmacies of Minnesota, Inc.
Accents for Less                                          Kmart Pharmacies, Inc.
American Siding & Deck, Inc.                              Kmart Properties, Inc.
American Windows & Sash, Inc.                             Kmart Stores of Indiana, Inc.
Appliance Liquidators                                     Kmart Stores of TNCP, Inc.
Austin Technology Center                                  KMI, Inc.
Bath and Kitchen Elegance                                 Koolvent Aluminum Products, Inc.
Bath and Kitchen Elegance of the Desert                   Kresge - Kmart Limited
Big Beaver of Caguas Development Corporation              Little Caesars
Big Beaver of Caguas Development Corporation II           Max Acquisition Delaware Inc.
Big Kmart                                                 McKids
Big Kmart (#3680)                                         McKids The Store
Central Wholesale Appliance Supply, Inc.                  McPhail's Appliances
Chantell Marketing                                        MetaScale Technologies India Private Limited
Circle of Beauty Inc.                                     Monark
Delver                                                    Monark Holdings Inc.
Delver.com                                                Monark of California
Designer Depot                                            Monark Premium Appliance Co.
Eblon Technologies India Private Limited                  Monark Premium Appliance Co. of Arizona
Evoke Productions                                         Monark Premium Appliance Co. of California
FitStudio by Sears                                        MXSV, Inc.
Florida Builder Appliances, Inc.                          NTB - National Tire and Battery
Garment Rack                                              NTB-National Tire & Battery
HDC Holding Company of Delaware, Inc.                     PMB, Inc.
HO. Tampa Development Co.                                 Prairie Buck I, Inc.
HO. Tysons Office Investment Co.                          Prairie Buck II, Inc.
ILJ, Inc.                                                 Private Brands, Ltd.
JAF, Inc.                                                 Relay LLC
KC Kelley Group                                           San Diego Appliance Sales
Kenmore Direct                                            Sears
Kids Stockroom                                            Sears #1284
Kmart                                                     Sears Acquisition Corp.
Kmart Acquisition Corp.                                   Sears Auto Center
Kmart Apparel Corp.                                       Sears Auto Center #6582
Kmart Apparel Fashions Corp.                              Sears Auto Centers
Kmart Apparel Leasing Corp.                               Sears Carpet and Upholstery Care, Inc.
Kmart Apparel Service of Atlanta Corp.                    Sears Essentials
Kmart Apparel Service of Des Plaines Corp.                Sears Grand
Kmart Apparel Service of Sunnyvale Corp.                  Sears Grand #1673
Kmart Corporation                                         Sears Holdings Management Corporation
Kmart Enterprises, Inc.                                   Sears Home Appliance Showrooms
Kmart Far East Limited                                    Sears Home Improvement Products (South), Inc.
Kmart Financing I                                         Sears Home Services
Kmart Global Sourcing Ltd.                                Sears Home&Life
Kmart Holding Company                                     Sears Lessee Operations, LLC
Kmart Holdings, Inc.                                      Sears Logistics Services
Kmart Lessee Operations, LLC                              Sears Logistics Services, Inc.
Kmart Management Corporation                              Sears Merchandise Group
Kmart Michigan Property Services, L.L.C.                  Sears Merchandise Group, Inc.
Kmart of Amsterdam, NY Distribution Center, Inc.          Sears New York Insurance Agency
Kmart of Pennsylvania LP                                  Sears Oklahoma Insurance Agency


                                                   Schedule 1                                             Page 1



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                                                  Schedule 1
                All Other Names Used By the Debtor or its Affiliates in the Last 8 Years

Sears Protection Company Inc.                               The Annexx Restaurant
Sears Protection Company, Inc.                              The Great Indoors
Sears Technology Services LLC                               Tire Property Holding, Inc.
Sears, Roebuck de Mexico, S.A. de C.V.                      Tri-Valley Crossings
Sears, Wishbook, Inc.                                       Troy CMBS Property, L.L.C.
ServiceLive Direct                                          Westar Kitchen & Bath LLC
SHMC, Inc.                                                  Westar Kitchen and Bath
Shop Your Way Local, LLC                                    Westar Kitchen and Bath, LLC
shopyourway.com                                             Western Bluelight.com LLC
Sourcing and Technical Services, Inc.                       WestStar Kitchen and Bath
SRC O.P. LLC                                                WestStar Kitchen and Bath LLC
SRC Real Estate (TX), LLC                                   Continental Carpet Cleaning, Inc.
Standards of Excellence                                     Sears Carpet and Upholstery Care, Inc.
Standards of Excellence Outlet Store                        Print Procurement Company, LLC
Super K                                                     Print Production Company, LLC
Super Kmart                                                 Relay LLC
SUPER KMART CENTER                                          Shop Your Way Local, LLC
Super Kmart Center                                          Sears New York Insurance Agency
Texas Bluelight.com Inc.                                    Sears Oklahoma Insurance Agency




                                                   Schedule 1                                            Page 2



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                                                 Schedule 2

              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                   On the date hereof, each of the affiliated entities listed below, including the debtor
   in this chapter 11 case, filed a voluntary petition for relief under chapter 11 of title 11 of the
   United States Code in the United States Bankruptcy Court for the Southern District of New York
   (the “Court”). A motion will be filed with the Court requesting that the chapter 11 cases of the
   entities listed below be consolidated for procedural purposes only and jointly administered,
   pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, under the case number
   assigned to the chapter 11 case of Sears Holdings Corporation.

COMPANY                                         CASE              DATE FILED          DISTRICT JUDGE
                                               NUMBER

Sears, Roebuck and Co.                        18-______( )       October 15, 2018      S.D.N.Y.     Pending
Sears Holdings Corporation                    18-______( )       October 15, 2018      S.D.N.Y.     Pending
Kmart Holding Corporation                     18-______( )       October 15, 2018      S.D.N.Y.     Pending
Kmart Operations LLC                          18-______( )       October 15, 2018      S.D.N.Y.     Pending
Sears Operations LLC                          18-______( )       October 15, 2018      S.D.N.Y.     Pending
ServiceLive, Inc.                             18-______( )       October 15, 2018      S.D.N.Y.     Pending
A&E Factory Service, LLC                      18-______( )       October 15, 2018      S.D.N.Y.     Pending
A&E Home Delivery, LLC                        18-______( )       October 15, 2018      S.D.N.Y.     Pending
A&E Lawn & Garden, LLC                        18-______( )       October 15, 2018      S.D.N.Y.     Pending
A&E Signature Service, LLC                    18-______( )       October 15, 2018      S.D.N.Y.     Pending
FBA Holdings Inc.                             18-______( )       October 15, 2018      S.D.N.Y.     Pending
Innovel Solutions, Inc.                       18-______( )       October 15, 2018      S.D.N.Y.     Pending
Kmart Corporation                             18-______( )       October 15, 2018      S.D.N.Y.     Pending
MaxServ, Inc.                                 18-______( )       October 15, 2018      S.D.N.Y.     Pending
Private Brands, Ltd.                          18-______( )       October 15, 2018      S.D.N.Y.     Pending
Sears Development Co.                         18-______( )       October 15, 2018      S.D.N.Y.     Pending
Sears Holdings Management Corporation         18-______( )       October 15, 2018      S.D.N.Y.     Pending
Sears Home & Business Franchises, Inc.        18-______( )       October 15, 2018      S.D.N.Y.     Pending
Sears Home Improvement Products, Inc.         18-______( )       October 15, 2018      S.D.N.Y.     Pending
Sears Insurance Services, L.L.C.              18-______( )       October 15, 2018      S.D.N.Y.     Pending
Sears Procurement Services, Inc.              18-______( )       October 15, 2018      S.D.N.Y.     Pending
Sears Protection Company                      18-______( )       October 15, 2018      S.D.N.Y.     Pending
Sears Protection Company (PR) Inc.            18-______( )       October 15, 2018      S.D.N.Y.     Pending
Sears Roebuck Acceptance Corp.                18-______( )       October 15, 2018      S.D.N.Y.     Pending
Sears, Roebuck de Puerto Rico, Inc.           18-______( )       October 15, 2018      S.D.N.Y.     Pending

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                                                  Schedule 2

              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

COMPANY                                         CASE          DATE FILED        DISTRICT JUDGE
                                               NUMBER

SYW Relay LLC                                 18-______( )   October 15, 2018    S.D.N.Y.   Pending
Wally Labs LLC                                18-______( )   October 15, 2018    S.D.N.Y.   Pending
Big Beaver of Florida Development, LLC        18-______( )   October 15, 2018    S.D.N.Y.   Pending
California Builder Appliances, Inc.           18-______( )   October 15, 2018    S.D.N.Y.   Pending
Florida Builder Appliances, Inc.              18-______( )   October 15, 2018    S.D.N.Y.   Pending
KBL Holding Inc.                              18-______( )   October 15, 2018    S.D.N.Y.   Pending
KLC, Inc.                                     18-______( )   October 15, 2018    S.D.N.Y.   Pending
Kmart of Michigan, Inc.                       18-______( )   October 15, 2018    S.D.N.Y.   Pending
Kmart of Washington LLC                       18-______( )   October 15, 2018    S.D.N.Y.   Pending
Kmart Stores of Illinois LLC                  18-______( )   October 15, 2018    S.D.N.Y.   Pending
Kmart Stores of Texas LLC                     18-______( )   October 15, 2018    S.D.N.Y.   Pending
MyGofer LLC                                   18-______( )   October 15, 2018    S.D.N.Y.   Pending
Sears Brands Business Unit Corporation        18-______( )   October 15, 2018    S.D.N.Y.   Pending
Sears Holdings Publishing Company, LLC        18-______( )   October 15, 2018    S.D.N.Y.   Pending
Sears Protection Company (Florida), L.L.C.    18-______( )   October 15, 2018    S.D.N.Y.   Pending
SHC Desert Springs, LLC                       18-______( )   October 15, 2018    S.D.N.Y.   Pending
SOE, Inc.                                     18-______( )   October 15, 2018    S.D.N.Y.   Pending
StarWest, LLC                                 18-______( )   October 15, 2018    S.D.N.Y.   Pending
STI Merchandising, Inc.                       18-______( )   October 15, 2018    S.D.N.Y.   Pending
Troy Coolidge No. 13, LLC                     18-______( )   October 15, 2018    S.D.N.Y.   Pending
BlueLight.com, Inc.                           18-______( )   October 15, 2018    S.D.N.Y.   Pending
Sears Brands, L.L.C.                          18-______( )   October 15, 2018    S.D.N.Y.   Pending
Sears Buying Services, Inc.                   18-______( )   October 15, 2018    S.D.N.Y.   Pending
Kmart.com LLC                                 18-______( )   October 15, 2018    S.D.N.Y.   Pending
Sears Brands Management Corporation           18-______( )   October 15, 2018    S.D.N.Y.   Pending




                                                Schedule 2                                   Page 2



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Fill in this information to identify the case:

Debtor name: Sears Holdings Corporation
United States Bankruptcy Court for the: Southern District of New York
                                                                     (State)
Case number (If known):



                                    Attachment to Voluntary Petition for
                           Non-Individuals Filing for Bankruptcy under Chapter 11

             If any of the debtor’s securities are registered under Section 12 of the Securities
Exchange Act of 1934, the SEC file number 001-36693.
               The following financial data is the latest available information and refers to the
debtor’s condition on August 4, 2018.
           Total assets                                                               $6.937 billion
           Total debts (including debts listed in 2.c., below)                        $11.339 billion
           Debt securities held by more than 500 holders:
                                                                                                                        Approximate
                                                                                                                         number of
                                                                                                                           holder
                     secured           unsecured             subordinated               $175 million in 6.625% 2L
                                                                                                                         Unknown
                                                                                            Notes (non-PIK)
                     secured           unsecured             subordinated                $411 million in $8.00%
                                                                                          Unsecured Notes (non-          Unknown
                                                                                                   PIK)
                     secured           unsecured             subordinated                 $186 million in SRAC
                                                                                          Unsecured Notes (non-          Unknown
                                                                                                   PIK)

          Number of shares of preferred stock                                     20 million shares authorized zero outstanding
          Number of shares common stock                                           Approx. 108,750,000


           Comments, if any:
          Brief description of debtor’s business: Sears Holdings Corporation (“Holdings”) is an integrated retailer
with significant physical and intangible assets, as well as virtual capabilities enabled through technology. At August
4, 2018, Holdings operated a national network of stores with 866 full-line and specialty retail stores in the United
States operating through Kmart and Sears. Further, Holdings operates a number of websites under the sears.com and
kmart.com banners which offer millions of products and provide the capability for our members and customers to
engage in cross-channel transactions such as free store pickup; buy in store/ship to home; and buy online, return in
store. Holdings is also the home of Shop Your Way®, a free membership program that connects its members to
personalized products, programs and partners that help them save time and money every day. Through an extensive
network of national and local partners, members can shop thousands of their favorite brands, dine out and access an
array of exclusive partners like Uber® and fuboTV® to earn CASHBACK in points to redeem for savings on future
purchases at Sears, Kmart, Lands' End and at ShopYourWay.com. The Sears MasterCard with Shop Your Way®
features an industry-leading 5-3-2-1 rewards offer, where members can earn rewards points on all purchases
everywhere they shop. Holdings is a leading home appliance retailer, as well as a leader in tools, lawn and garden,
fitness equipment, automotive repair and maintenance, and is a significant player in the rapidly emerging connected
solutions market. Holdings offers key proprietary brands including Kenmore® and DieHard®, as well as
Craftsman® branded product offerings. Holdings’ Kenmore and DieHard brands are also now available on
Amazon.com. Holdings also maintains a broad apparel and home offering including such well-known labels as


Official Form 201a        Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11        Page 1


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Debtor
 18-23538-shlSears
                DocHoldings
                        1 Corporation                Case number01:03:35
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Jaclyn Smith®, Joe Boxer®, Route 66®, Cannon®, Adam Levine® and Levi's® and also offers Lands' End®
merchandise in some of our Full-line stores. Holdings is the nation's No. 1 provider of appliance and product repair
services, with over five million service calls made annually.

         List the names of any person who directly or indirectly owns controls, or holds, with power to vote, 5% or
more of the voting securities of debtor:

               ESL Investments, Inc. and its affiliates; and Fairholme Capital Management and its affiliates




Official Form 201a            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11         Page 2



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                               PROPOSED RESOLUTIONS OF
                              THE BOARD OF DIRECTORS OF
                             SEARS HOLDINGS CORPORATION

        WHEREAS, the board of directors (the “Board”) of Sears Holdings Corporation (the
“Company”) has reviewed and had the opportunity to ask questions about the materials presented
by the management and the legal and financial advisors of the Company regarding the liabilities
and liquidity of the Company, the strategic alternatives available to it and the impact of the
foregoing on the Company’s businesses; and

        WHEREAS, the Board has had the opportunity to consult with the management and the
legal and financial advisors of the Company to fully consider each of the strategic alternatives
available to the Company; and

       WHEREAS, the Board has reviewed, considered, and had the opportunity to ask
questions about the Chapter 11 Case and Chapter 11 Filings (each as defined below) and the DIP
ABL Term Sheet (as defined below).

Chapter 11 Filing

        NOW, THEREFORE, BE IT RESOLVED, that the Board has determined, after
consultation with the management and the legal and financial advisors of the Company, that it is
desirable and in the best interests of the Company, its creditors, and other parties in interest that a
petition be filed by the Company seeking relief under the provisions of chapter 11 of title 11 of
the Bankruptcy Code; and be it further

        RESOLVED, that any officer of the Company (each, an “Authorized Person”), in each
case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with
full power of delegation, to negotiate, execute, deliver, file and perform, in the name and on
behalf of the Company, and under its corporate seal or otherwise, all petitions, schedules,
motions, lists, applications, pleadings, orders and other documents (the “Chapter 11 Filings”) in
the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”) (with such changes therein and additions thereto as any such Authorized Person may
deem necessary, appropriate or advisable, the execution and delivery of any of the Chapter 11
Filings by any such Authorized Person with any changes thereto to be conclusive evidence that
any such Authorized Person deemed such changes to meet such standard); and be it further

         RESOLVED, that each Authorized Person, in each case, acting singly or jointly, be, and
each hereby is, authorized, empowered, and directed, with full power of delegation, in the name
and on behalf of the Company, to take and perform any and all further acts and deeds that such
Authorized Person deems necessary, appropriate, or desirable in connection with the Company’s
chapter 11 case (the “Chapter 11 Case”) or the Chapter 11 Filings, including, without limitation,
(i) the payment of fees, expenses and taxes such Authorized Person deems necessary,
appropriate, or desirable, and (ii) negotiating, executing, delivering, performing and filing any
and all additional documents, schedules, statements, lists, papers, agreements, certificates and/or
instruments (or any amendments or modifications thereto) in connection with, or in furtherance
of, the Chapter 11 Case with a view to the successful prosecution of such Chapter 11 Case (such
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acts to be conclusive evidence that such Authorized Person deemed the same to meet such
standard); and be it further

Debtor-in-Possession Financing

                RESOLVED, that in connection with the Chapter 11 Case, it is desirable and in
the best interests of the Company, its creditors, and other parties in interest to enter into and
obtain loans and consummate the transactions under that certain senior secured superpriority
priming debtor-in-possession asset-based credit facility in an aggregate principal amount of
$1.875 billion (the “DIP ABL Loan”), representing an increase of $300 million from the existing
facility, on terms set forth on the term sheet attached hereto as Exhibit A (the “DIP ABL Term
Sheet”). The DIP ABL Loan, will be evidenced by such Term Sheet, and upon entry of the final
order approving, among other things, the Company's entry into the DIP ABL Loan, a senior
secured superpriority priming debtor-in-possession asset-based credit agreement, in each case to
be entered into by and among, Sears Roebuck Acceptance Corp. (“SRAC”) and Kmart
Corporation (“Kmart”, together with SRAC, the “DIP ABL Borrowers”), and Holdings and the
other Loan Parties (as defined in the DIP ABL Term Sheet (other than the DIP ABL Borrowers)
as guarantors (the “Guarantors”), the lenders from time to time party thereto (the “DIP ABL
Lenders”), and Bank of America, N.A., as administrative agent for the DIP ABL Lenders (in
such capacity and together with its successors, the “DIP ABL Agent”) (together with the
Exhibits and Schedules annexed thereto, the “DIP ABL Loan Credit Agreement” and together
with the DIP Loan Documents (as defined in the Dip ABL Loan Term Sheet), the “DIP ABL
Financing Documents”), in each case subject to approval of the United States Bankruptcy Court
for the Southern District of New York which is necessary and appropriate to the conduct of the
business of the Company; and be it further

                RESOLVED, that the form, terms and provisions of (i) the DIP ABL Term Sheet,
including the use of proceeds to provide liquidity for the Company throughout the Chapter 11
Case, substantially consistent with the DIP ABL Term Sheet, which has been presented to the
Board and (ii) any and all of the other documents, agreements (including the DIP ABL Credit
Agreement and the other DIP Loan Documents), including, without limitation, any guarantee and
security agreement, letters, notices, certificates, documents and instruments authorized, executed,
delivered, reaffirmed, verified and/or filed in connection with the DIP ABL Loan and the
performance of obligations thereunder, including the borrowings, guarantees, granting of
security and pledging of collateral contemplated thereunder, are hereby, in all respects
confirmed, ratified and approved; and be it further

                RESOLVED, that any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of the Company, to cause the Company to negotiate and
approve the terms, provisions of and performance of, and to prepare, execute and deliver the DIP
ABL Term Sheet and DIP ABL Credit Agreement, in the name and on behalf of the Company
under its corporate seal or otherwise, and such other documents, agreements, instruments and
certificates as may be required by the DIP ABL Agent or required by the DIP ABL Term Sheet,
including the DIP ABL Credit Agreement; and be it further

               RESOLVED, that the Company be, and hereby is, authorized to incur the
obligations and to undertake any and all related transactions contemplated under the DIP ABL
Financing Documents including the borrowing and reborrowing of loans, guaranteeing of
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obligations of the Borrowers, granting of security thereunder and the pledging of collateral; and
be it further

                RESOLVED, that any Authorized Person is hereby authorized to grant security
interests in, and liens on, any and all property of the Company as collateral pursuant to the DIP
ABL Financing Documents to secure all of the obligations and liabilities of the Company
thereunder to the respective lenders and agents under the DIP ABL Financing Documents, and to
authorize, execute, verify, file and/or deliver to the DIP ABL Agent, on behalf of the Company,
all agreements, documents and instruments required by the respective lenders and agents under
the DIP ABL Financing Documents in connection with the foregoing; and be it further

                 RESOLVED, that any Authorized Person, in connection with the DIP Financing,
be authorized, empowered, and directed to negotiate and obtain the use of cash collateral or other
similar arrangements, including, without limitation, to enter into any guarantees and to pledge
and grant liens on and security interests in any and all property of the Company as may be
contemplated by or required under the terms of any cash collateral agreements or other similar
arrangements entered into in connection with the DIP Financing, in such amounts as is
reasonably necessary for the continuing conduct of the affairs of the Company in the Chapter 11
Case and any of the Company's affiliates who may also, concurrently with the Company's
petition, file for relief under the Bankruptcy Code; and be it further

                RESOLVED, that any Authorized Person is hereby authorized, empowered, and
directed, in the name and on behalf of the Company, to take all such further actions including,
without limitation, to pay all fees and expenses, in accordance with the terms of the DIP ABL
Financing Documents, which shall, in such Authorized Person’s sole judgment, be necessary,
proper or advisable to perform the Company’s obligations under or in connection with the DIP
ABL Term Sheet, DIP ABL Credit Agreement or any of the other DIP ABL Financing
Documents and the transactions contemplated therein and to carry out fully the intent of the
foregoing resolutions; and be it further

         RESOLVED, that any Authorized Person is hereby authorized, empowered, and directed,
in the name and on behalf of the Company, to execute and deliver any amendments,
supplements, modifications, renewals, replacements, consolidations, substitutions and extensions
of the DIP ABL Term Sheet, the DIP ABL Credit Agreement and/or any of the DIP ABL
Financing Documents, in each case consistent with the DIP ABL Financing Documents, which
shall, in such Authorized Person’s sole judgment, be necessary, proper or advisable; and be it
further

Retention of Advisors

      RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767 Fifth
Avenue, New York, New York 10153, is hereby retained as attorneys for the Company in the
Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

       RESOLVED, that the firm of M-III Advisory Partners, LP, located at 30 Rockefeller
Plaza, New York, NY 10112, is hereby retained as financial advisor for the Company in the
Chapter 11 Case, subject to Bankruptcy Court approval; and be it further
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       RESOLVED, that the firm of Lazard Freres & Company, located at 30 Rockefeller Plaza,
New York, NY 10112, is hereby retained as investment banker for the Company in the Chapter
11 Case, subject to Bankruptcy Court approval; and be it further

        RESOLVED, that the firm of DLA Piper LLP, located at 500 Eighth Street, NW,
Washington, DC 20004, is hereby retained to provide the Company with additional real estate
and advisory services in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it
further

       RESOLVED, that the firm of Prime Clerk, located at 830 Third Avenue, 9th Floor, New
York, NY 10022, is hereby retained as claims, noticing and solicitation agent for the Company in
the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

        RESOLVED, that, with respect to each Company, each Authorized Person, in each case,
acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with full
power of delegation, in the name and on behalf of the Company, to negotiate, execute, deliver,
file and perform any agreement, document or certificate and to take and perform any and all
further acts and deeds (including, without limitation, (i) the payment of any consideration and (ii)
the payment of fees, expenses and taxes) that such Authorized Person deems necessary, proper,
or desirable in connection with the Company’s Chapter 11 Case, including, without limitation,
negotiating, executing, delivering and performing any and all documents, agreements,
certificates and/or instruments (or any amendments or modifications thereto) in connection with
the engagement of professionals contemplated by these resolutions, with a view to the successful
prosecution of the Chapter 11 Case.

Dissolution of Committees

       WHEREAS, in light of the role and responsibilities of the Restructuring Committee in
connection with the Chapter 11 Case, the functions of the Related Person Transactions
Subcommittee of the Audit Committee of the Board (the “RPT Committee”), the Real Estate
Transactions Subcommittee of the Audit Committee of the Board (the “RE Transactions
Committee”), the Strategic Planning Committee of the Board (the “Strategic Planning
Committee”), and the Special Committee of the Board (the “Special Committee”) are no longer
necessary.

       NOW, THEREFORE, BE IT RESOLVED, that each of the RPT Committee, RE
Transactions Committee, the Strategic Planning Committee and the Special Committee is hereby
dissolved.

Ratification

        RESOLVED, that any and all past actions heretofore taken by any Authorized Person,
any director, or any member of the Company in the name and on behalf of the Company in
furtherance of any or all of the preceding resolutions be, and the same hereby are, ratified,
confirmed, and approved in all respects.

General Authorization

               RESOLVED, FURTHER, that the Authorized Persons, each of whom may act
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without the joinder of any of the others, be, and each of them individually hereby is, authorized
and directed, in the name and on behalf of the Corporation, to take or cause to be taken all such
further actions, including without limitation, negotiating, signing, executing, acknowledging,
certifying, attesting, delivering, accepting, recording and filing (with such changes as such
Authorized Person shall approve, the execution and delivery thereof or the taking of such other
action to be conclusive evidence of such approval) the Chapter 11 Case, the Chapter 11 Filings,
the DIP ABL Credit Agreement and the retention of advisors and all such further documents,
agreements, certificates and instruments and paying all fees, taxes and other expenses or
payments, in each case as such Authorized Person, in such Authorized Person’s sole discretion,
may determine to be necessary, appropriate or desirable in order to fulfill the intent and
accomplish the purposes of the foregoing resolution, such determination to be conclusively
evidenced by the taking of any such further action; and

        RESOLVED, FURTHER, that any actions taken by any Authorized Person, for or on
behalf of the Corporation, prior to the date hereof that would have been authorized by these
resolutions but for the fact that such actions were taken prior to the date hereof be, and they
hereby are, authorized, adopted, approved, confirmed and ratified in all respects as the actions
and deeds of the Corporation.
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    Fill in this information to identify the case:

    Debtor name: Sears Holdings Corporation
    United States Bankruptcy Court for the: Southern District of New York
                                                                               (State)
    Case number (If known):

                                                                                                                                                         ☐ Check if this is an
                                                                                                                                                             amended filing


    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors
    Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                           12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.
Name of creditor and complete mailing              Name, telephone number, and            Nature of the       Indicate if   Amount of unsecured claim
address, including zip code                        email address of creditor contact        claim (for         claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                         example, trade      contingent,    claim amount. If claim is partially secured, fill in total
                                                                                           debts, bank      unliquidated,   claim amount and deduction for value of collateral or
                                                                                              loans,         or disputed    setoff to calculate unsecured claim.
                                                                                          professional
                                                                                          services, and
                                                                                          government
                                                                                            contracts)
                                                                                                                            Total claim, if     Deduction for      Unsecured claim
                                                                                                                            partially           value of
                                                                                                                            secured             collateral or
                                                                                                                                                setoff
1       The Pension Benefit Guaranty Corporation   Attn.: Office of the Chief Counsel    Pension Benefits                                                                    Unknown
        Attn.: Office of the Chief Counsel         Phone: 202‐326‐4110
        1200 K Street, N.W., Suite 300             Facsimile: 202‐326‐4114
        Washington District of Columbia 20005      Email:

2       SRAC Medium Term Notes                     Attn.: President or General Counsel     Unsecured                                                                $2,311,800,000.00
        c/o BNY Midwest Trust Company              Phone: 312‐294‐5200                       Notes
        Attn.: President or General Counsel        Facsimile:
        101 Barclay St., Floor 8W,                 Email:
        New York, New York 10286
3       Holdings Unsecured Notes (8.00%)           Attn.: President or General Counsel     Unsecured                                                                 $411,000,000.00
        c/o Computershare Trust Company, N.A.      Phone: 781‐575‐2000                       Notes
        Attn.: President or General Counsel        Facsimile: 781‐575‐4210
        250 Royal Street                           Email:
        Canton, Massachusetts 02021
4       Holdings Unsecured PIK Notes (8.00%)       Attn.: President or General Counsel     Unsecured                                                                 $222,600,000.00
        c/o Computershare Trust Company, N.A.      Phone: 781‐575‐2000                       Notes
        Attn.: President or General Counsel        Facsimile: 781‐575‐4210
        250 Royal Street                           Email:
        Canton, Massachusetts 02021
5       SRAC Unsecured Notes                       Attn.: Corporate Trust Department       Unsecured                                                                 $185,600,000.00
        c/o The Chase Manhattan Bank, N.A.         Phone:                                    Notes
        Attn.: Corporate Trust Department          Facsimile:
        4 Chase MetroTech Center, 3rd Floor        Email:
        Brooklyn, New York 11245
6       SRAC Unsecured PIK Notes                   Attn.: President or General Counsel     Unsecured                                                                 $107,900,000.00
        c/o BNY Midwest Trust Company              Phone: 312‐294‐5200                       Notes
        Attn.: President or General Counsel        Facsimile:
        101 Barclay Street, Floor 8W               Email:
        New York, New York 10286




    Official Form 204                              List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                        Page 1

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         Debtor                      Sears Holdings Corporation                                           Case number (if known)
                                     Name



Name of creditor and complete mailing               Name, telephone number, and            Nature of the        Indicate if   Amount of unsecured claim
address, including zip code                         email address of creditor contact        claim (for          claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                          example, trade       contingent,    claim amount. If claim is partially secured, fill in total
                                                                                            debts, bank       unliquidated,   claim amount and deduction for value of collateral or
                                                                                               loans,          or disputed    setoff to calculate unsecured claim.
                                                                                           professional
                                                                                           services, and
                                                                                           government
                                                                                             contracts)
                                                                                                                              Total claim, if     Deduction for      Unsecured claim
                                                                                                                              partially           value of
                                                                                                                              secured             collateral or
                                                                                                                                                  setoff
7       Whirlpool Corporation                       Attn.: President or General Counsel   Trade Payable                                                                  $23,409,729.00
        Attn.: President or General Counsel         Phone: 269‐923‐5000
        2000 North M‐63                             Facsimile: 269‐923‐3722
        Benton Harbor, Michigan 49022               Email:

8       Frigidaire Company                          Attn.: President or General Counsel   Trade Payable                                                                  $18,617,186.00
        c/o Electrolux                              Phone: 786‐388‐6400
        Attn.: President or General Counsel         Facsimile:
        P.O. Box 2638                               Email:
        Carol Stream, Illinois 60132‐2638
9       Winia Daewoo Electronics America            Attn.: President or General Counsel   Trade Payable                                                                  $15,180,156.00
        Attn.: President or General Counsel         Phone: 877‐393‐7823
        65 Challenger Road, Suite 360               Facsimile:
        Ridgefield Park, New Jersey 07660           Email:

10      Cardinal Health                             Attn.: President or General Counsel   Trade Payable                                                                  $13,877,913.00
        Attn.: President or General Counsel         Phone: 614‐757‐5000
        7000 Cardinal Place                         Facsimile:
        Dublin, Ohio 43017                          Email:

11      Icon Health and Fitness Inc.                Attn.: President or General Counsel   Trade Payable                                                                  $12,102,200.00
        Attn.: President or General Counsel         Phone: 877‐993‐7999
        1500 South 1000 West                        Facsimile: 435‐750‐5238
        Logan, Utah 84321                           Email:

12      HK Greatstar Int'l Co. Ltd.                 Attn.: President or General Counsel   Trade Payable                                                                  $10,354,683.00
        Attn.: President or General Counsel         Phone: 852 2110 4002
        Rm 35, 4/F., Po Yip Building                Facsimile: 852 3585 6687
        23 Hing Yip Street, Kwun Tong,              Email:
        Kowloon, Hong Kong
13      Samsung Electronics America HA              Attn.: President or General Counsel   Trade Payable                                                                   $8,054,247.00
        Attn.: President or General Counsel         Phone: 201‐229‐4000
        85 Challenger Road, 7th Floor               Facsimile: 201‐229‐4029
        Ridgefield Park, New Jersey 07660           Email:

14      Apex Tool International LLC                 Attn.: President or General Counsel   Trade Payable                                                                   $6,605,582.00
        Attn.: President or General Counsel         Phone: 410‐773‐7800
        910 Ridgebrook Road, Suite 200              Facsimile: 800‐234‐0472
        Sparks, Maryland 21152                      Email:

15      Black & Decker US Inc.                      Attn.: President or General Counsel   Trade Payable                                                                   $5,893,734.00
        c/o Stanley Black & Decker                  Phone:
        Attn.: President or General Counsel         Facsimile:
        1000 Stanley Drive                          Email:
        New Britain, Connecticut 06053
16      Eastern Prime Textile Limited               Attn.: President or General Counsel   Trade Payable                                                                   $5,761,992.00
        Attn.: President or General Counsel         Phone: 852 21918293
        Unit F10/F, King Win FTY Building           Facsimile: 852 27939353
        No. 65‐67 King Yip Street, Kwun Tong,       Email:
        Kowloon, Hong Kong
17      Winners Industry Company Limited            Attn.: President or General Counsel   Trade Payable                                                                   $5,359,201.00
        Attn.: President or General Counsel         Phone: 86 769 83213199
        Unit A, Wah Lung Building                   Facsimile: 86 769 83213177
        49‐53 Wang Lung Street,Tsuen wan,           Email:
        New Territories, Hong Kong




    Official Form 204                               List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                         Page 2



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       Debtor                      Sears Holdings Corporation                                           Case number (if known)
                                   Name



Name of creditor and complete mailing             Name, telephone number, and            Nature of the        Indicate if   Amount of unsecured claim
address, including zip code                       email address of creditor contact        claim (for          claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                        example, trade       contingent,    claim amount. If claim is partially secured, fill in total
                                                                                          debts, bank       unliquidated,   claim amount and deduction for value of collateral or
                                                                                             loans,          or disputed    setoff to calculate unsecured claim.
                                                                                         professional
                                                                                         services, and
                                                                                         government
                                                                                           contracts)
                                                                                                                            Total claim, if     Deduction for      Unsecured claim
                                                                                                                            partially           value of
                                                                                                                            secured             collateral or
                                                                                                                                                setoff
18    Tata Consultancy Services Ltd.              Attn.: President or General Counsel   Trade Payable                                                                   $5,333,545.00
      Attn.: President or General Counsel         Phone: 732‐590‐2600
      379 Thornal Street, 4th Floor               Facsimile:
      Edison, New Jersey 08837                    Email:

19    Active Media Services Inc.                  Attn.: President or General Counsel   Trade Payable                                                                   $5,192,874.00
      Attn.: President or General Counsel         Phone: 845‐735‐1700
      1 Blue Hill Plaza                           Facsimile: 845‐735‐0717
      Pearl River, New York 10965                 Email:


20    Automotive Rentals Inc.                     Attn.: President or General Counsel   Trade Payable                                                                   $4,830,313.00
      Attn.: President or General Counsel         Phone:
      4001 Leadenhall Road                        Facsimile:
      Mount Laurel, New Jersey 08054‐4611         Email:




  Official Form 204                               List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                         Page 3



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Fill in this information to identify the case:

Debtor name: Sears Holdings Corporation
United States Bankruptcy Court for the: Southern District of New York
                                                                 (State)
Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                            12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


             Declaration and signature



    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
    partnership; or another individual serving as a representative of the debtor in this case.
    I have examined the information in the documents checked below and I have a reasonable belief that the information is
    true and correct:
    ☐       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
    ☐       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    ☐       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    ☐       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    ☐       Schedule H: Codebtors (Official Form 206H)
    ☐       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    ☐       Amended Schedule ____
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
    ☐       Other document that requires a declaration

    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on October 15, 2018
                                                  /s/ Mohsin Y. Meghji
                    MM / DD / YYYY                    Signature of individual signing on behalf of debtor

                                                      Mohsin Y. Meghji
                                                      Printed name

                                                      Chief Restructuring Officer
                                                      Position or relationship to debtor




Official Form 202                        Declaration Under Penalty of Perjury for Non-Individual Debtors



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